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                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                       )
                                                )
                Plaintiff,                      )      CR. NO. 19-4440 MV
                                                )
       v.                                       )
                                                )
NICHOLOUS PHILLIPS                              )
                                                )
                Defendant.                      )

              SUBPOENA DUCES TECUM FOR PRODUCTION OF RECORDS

TO:    Albuquerque Police Department
       Custodian of Records

       In accordance with Fed. R. Crim. P. 17(c), YOU ARE HEREBY ORDERED to

produce the following records to the United States:

       Any and all lapel camera video, dispatch and radio traffic, and all other multimedia
       relating to the November 15, 2019, incident concerning Nicholous Phillips, DOB xx-xx-
       1979, SSN xxx-xx-2061, that took place at 10012 Cochiti Road SE in Albuquerque, New
       Mexico.

       YOU ARE FURTHER ORDERED that such records shall be produced to the United

States Attorney’s Office, 201 3rd St. NW, Ste. 900, Albuquerque, New Mexico 87102 within five

(5) business days of the receipt of subpoena.


Date: ________________                          CLERK, UNITED STATES DISTRICT COURT
                                                District of New Mexico



                                                Signature of Clerk or Deputy Clerk
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The party requesting this subpoena is the United States of America, represented by:

Jaymie L. Roybal, Assistant United States Attorney
United States Attorney’s Office
P.O. Box 607
Albuquerque, New Mexico, 87103
(505) 224-1413
Jaymie.Roybal@usdoj.gov
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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )        CR 19-1528 WJ
                                             )
       vs.                                   )
                                             )
NATHANIEL V. (a male juvenile),              )
                                             )
               Defendant.                    )

             SUBPOENA DUCES TECUM FOR PRODUCTION OF RECORDS

TO:    Thirteenth Judicial District Court

       In accordance with Fed. R. Crim. P. 17(c), YOU ARE HEREBY ORDERED to

produce the following records to the United States:

        All sealed records in your possession regarding the juvenile criminal record of Nathaniel
Lee Valenzuela (a juvenile), d/o/b 09/23/2001, including, but not limited to, records related to
past treatment, evaluation, or performance at All Faiths, YDI, Sequoyah Treatment Center, and
sealed records related to supervision through the Community Custody Program (CCP), to include
documents related to Nathaniel Valenzuela’s involvement in the Community Monitoring
Program and the Youth Reporting Center.

       YOU ARE FURTHER ORDERED that such records shall be produced in person at the

trial of United States v. Nathaniel V., CR-19-1528, on July 2, 2019, at 9:00 a.m., Bonito

Courtroom, at the Pete V. Domenici U.S. Courthouse located at 333 Lomas Blvd NW in

Albuquerque, New Mexico.


Date: ________________                       CLERK, UNITED STATES DISTRICT COURT
                                             District of New Mexico
         Case 1:19-cr-04440-MV Document 18-1 Filed 12/12/19 Page 4 of 4




                                            Signature of Clerk or Deputy Clerk

The party requesting this subpoena is the United States of America, represented by:
Timothy Trembley, Special Assistant United States Attorney
United States Attorney’s Office
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Albuquerque, New Mexico, 87103
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